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                                                                                                      FILED
                                                                                           John E. Triplett, Acting Clerk
                                                                                            United States District Court

                                                                                        By mgarcia at 3:43 pm, Sep 25, 2020

                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF GEORGIA
                                   BRUNSWICK DIVISION


     JANICE THERESA DOLLAR, as personal
     representative of the Estate of Michael Lamar
     Dollar, and individually,

                      Plaintiff,                                 CIVIL ACTION NO.: 2:20-cv-78

            v.

     MONSANTO COMPANY,

                      Defendant.


      ORDER GOVERNING PROTOCOL FOR DISCOVERY OF ELECTRONICALLY
                         STORED INFORMATION

          This matter is before the Court on the parties’ joint request for entry of an order

governing discovery of electronically stored information. Doc. 11. After a review of the record,

the Court finds that good cause to enter such an order exists. The Court, therefore, GRANTS the

parties’ joint request, doc. 11, and ORDERS that the discovery of electronically stored

information shall occur as follows:

I.        Production Format of Defendant’s Electronically Stored Information

          A.     Definitions

                 1.        “Document” means paper documents or electronically stored information

                           (ESI) existing in any medium from which information can be obtained or

                           translated into reasonably usable form.

                 2.        “Native File(s)” means ESI in the file type for (or of) the application in

                           which such ESI is normally created, viewed or modified.
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          3.   “Metadata” means: (i) information embedded in a Native File that is not

               ordinarily viewable or printable from the application that generated,

               edited, or modified such Native File; and (ii) information generated

               automatically by the operation of a computer or other information

               technology system when a Native File is created, modified, transmitted,

               deleted or otherwise manipulated by a user of such system.

          4.   “Static Image(s)” means a representation of ESI produced by converting a

               Native File into a standard image format capable of being viewed and

               printed on standard computer systems. A Tagged Image File Format

               (TIFF) image is an example of a Static Image.

          5.   “Load/Unitization file” means a set of paper-scanned images or

               electronically processed files and indicates where individual pages or files

               belong together as documents, including attachments, and where each

               document begins and ends. A Load/Unitization file will also contain data

               relevant to the individual documents, such as Metadata, coded data, and

               OCR or Extracted Text.

          6.   “OCR” means the optical character recognition file which is created by

               software used in conjunction with a scanner that is capable of reading text-

               based documents and making such documents searchable using

               appropriate software.

          7.   “Extracted Text” means the text extracted from a Native File and includes

               all header, footer and document body information.




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              8.      Parties will use reasonable, best efforts to comply with the terms of this

                      production format. In the event a party determines that it cannot

                      materially comply with any requirement herein, they will disclose their

                      inability to comply and parties will meet and confer regarding resolution

                      of the identified issue.

       B.     Format of Production

              1.      Paper Documents

              Paper documents, including spreadsheets maintained in paper form, will be

              produced as TIFF images (consistent with the specifications in § I.B.2.(a)). The

              production will include the appropriate Load/Unitization files which will, at a

              minimum, contain the following fields (described in detail in I. B. 2. (e). infra.):

                      (a)     Beginning Production Number (ProdBeg),

                      (b)     Ending Production Number (ProdEnd),

                      (c)     Beginning Attachment Production Number (BegAttach),

                      (d)     End Attachment Production Number (EndAttach),

                      (e)     Custodian/Source,

                      (f)     Confidentiality,

                      (g)     Document Type,

                      (h)     Page Counts, and

                      (i)     OCR.TXT file.

       In scanning paper documents, if a document is more than one page, to the extent

reasonably possible, the unitization of the document and any attachments or affixed notes should

be maintained as it existed when collected by the producing party. The parties may unitize their




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documents using either physical unitization (i.e., based on physical binding or organizational

elements present with the original paper documents like staples, clips and binder inserts) or

logical unitization (i.e., a manual review of the paper to determine what logically constitutes a

document like page numbers or headers). The parties will meet and confer to resolve any related

issues.

               2.      ESI

                       (a)    All TIFF-formatted documents will be single page, Group 4 TIFF

                       at 300 x 300 dpi resolution and 8.5 x 11 inch page size, except for

                       documents that in the producing party’s reasonable judgment require a

                       different resolution or page size. The requesting party retains the right to

                       request a TIFF image in a higher resolution or larger page size if necessary

                       to render the image legible or understandable. If a color image is

                       produced in black and white, the receiving party may request the

                       producing party to produce the original, color image. After receiving such

                       a request for color production, the parties will meet and confer on a

                       reasonable and cost-effective means of providing the requested

                       documents. To the extent possible, the original orientation shall be

                       maintained (e.g., portrait-to-portrait and landscape-to-landscape). Such

                       files will be grouped in folders of no more than 1,000 TIFF files each

                       unless necessary to prevent files from splitting across a folder.

                       (b)    In the absence of agreement of the parties or order of Court, a

                       Static Image will be provided in TIFF format (.TIF files). The image file

                       names shall match the Bates number assigned to the image. All




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               documents are to be provided with multi-page searchable OCR or

               Extracted Text files, as described in paragraph (c).

               (c)      Text Files. Full extracted text will be provided in the format of a

               single *.txt file for each file (e.g., not one *.txt file per *.tif image).

               Where ESI contains text that has been redacted under assertion of

               privilege or other protection from disclosure, the redacted *.tif image will

               be OCR’d and file-level OCR text will be provided in lieu of extracted

               text. Searchable text will be produced as file-level multi-page UTF-8 text

               files with the text file named to match the beginning production number of

               the file. The full path of the text file should be provided in the *.dat data

               load file.

               (d)      There will be two Load/Unitization files accompanying all

               productions. One will be the Image load file and the other will be the

               Metadata load file. The specifics of these files are detailed in (i) and (ii)

               below:

                        (i)       Image Load File

                              •   Every Document referenced in a production image load file

                        shall have all corresponding images, text, and data logically

                        grouped together in a directory structure with a common key to

                        properly load the data.

                              •   Documents shall be produced in only one image load file

                        throughout the productions, unless that document is noted as being




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                     a replacement document in the Replacement field of the data load

                     file.

                            •   The name of the image load file shall mirror the name of

                     the delivery volume, and should have an .lfp, .opt or .dii*

                     extension (e.g., ABC001.lfp). The volume names shall be

                     consecutive (i.e., ABC001, ABC002, et. seq.) *If .dii file is

                     produced, the accompanying metadata load file shall be separate

                     from the .dii file and not contained within the .dii file.

                            •   The load file shall contain one row per TIFF image.

                            •   Every image in the delivery volume shall be contained in

                     the image load file.

                            •   The image key shall be named the same as the Bates

                     number of the page. Load files shall not span across media (e.g.,

                     CDs, DVDs, Hard Drives, etc.), i.e., a separate volume shall be

                     created for each piece of media delivered.

                     (ii)       Metadata Load File

                            •   The metadata load file shall use the following delimiters:

                                - Column Delimiter: Pipe - | (ASCII 124)

                                - Text Qualifier: Caret - ^ (ASCII 94)

                                - New line: Registered sign - ® (ASCII 174)

                            •   Data for documents shall be produced in only one data load

                     file throughout the productions, unless that document is noted as




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                       being a replacement document in the Replacement field of the data

                       load file.

                           •   The first record shall contain the field names in the order of

                       the data set forth in (B. 2. e.). Metadata fields that are not

                       applicable to a document shall be filled with a NULL value along

                       with fields that were not able to be obtained due to a processing

                       error or corrupt file.

                           •   All date fields shall be produced in "mm/dd/yyyy hh:mm:ss

                       AM" format.

                           •   A carriage-return line-feed shall be used to indicate the

                       start of the next record.

                           •   Load files shall not span across media (e.g., CDs, DVDs,

                       Hard Drives, etc.); a separate volume shall be created for each

                       piece of media delivered.

                           •   The name of the metadata load file shall mirror the name of

                       the delivery volume, and shall have a .dat, .csv or .txt extension

                       (i.e., ABC001.dat).

                           •   The volume names shall be consecutive for each produced

                       source. (i.e., ABC001, ABC002, et. seq.).

               (e)     Except as set forth herein, ESI will be produced to the requesting

               party as Static Images together with a Load/Unitization file that will

               contain the Metadata fields described below on the document level, except

               as set forth in section (B.) (2.) (l.) infra. The following fields associated



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                       be endorsed on the lower left corner of applicable images and shall

                not obscure any portion of the original file.

                (g)    When processing ESI, GMT should be selected as the time zone.

                To the extent that a party has already processed ESI using a different time

                zone, the producing party will note the time zone used in its processing.

                (h)    Documents with dynamic fields for file names, dates, and times

                will be processed to show the field code (e.g., “[FILENAME]” or

                “[AUTODATE]”), rather than the values for such fields existing at the

                time the file is processed.

                (i)    When the Static Image is produced, the producing party shall make

                reasonable attempts to maintain and not modify the original Native File

                and its metadata.

                (j)    The parties will meet and confer regarding collection and

                production of ESI stored in databases and other structured data under the

                custody and control of the parties.

                (k)    Electronic file collection will be “De-NISTed”, removing

                commercially available operating system and application files contained

                on the current NIST file list. Identification of NIST list matches will be

                through MD5 Hash values.

                (l)    User-generated files that have been collected that cannot be

                produced or imaged because of technical issues should be identified as

                exception files and included on a log that lists all metadata set forth in

                paragraph 2(e) except that the metadata for the APPLICAT field will be




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                obtained from binary encoding from the file, and reason for exception: for

                example, corruption, unavailable password protection, proprietary

                software, or other technical issues. The producing party shall provide a

                copy of this log with its production. If the receiving party requests

                production of any files listed on the exception log, the parties will meet

                and confer, including on any reasonable and cost-effective means of

                providing the requested data.

                (m)    “Duplicate ESI” means files that are exact duplicates based on the

                files’ MD5 or SHA-1 hash value. The producing party need only produce

                a single copy of responsive Duplicate ESI. De-duplication shall not break

                apart families and shall be performed at a family level. Defendants will

                globally (e.g., both within a particular custodian’s file and across all

                custodian/databases) de-duplicate identical ESI as follows:

                       Electronic Files: Electronic files will be de-duplicated based

                             upon calculated MD5 Hash values for binary file content.

                             File contents only will be used for MD5 Hash value

                             calculation and will not include operating system metadata

                             (filename, file dates) values.

                       Messaging Files: Messaging files will be de-duplicated based

                             upon MD5 Hash values for the message family, including

                             parent object and attachments. The following fields will be

                             used to create the unique value for each message: To; From;

                             CC; BCC; Date Sent; Subject; Body; and, MD5 Hash values




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                              for all attachments, in attachment order. Messaging materials

                              will be de-duplicated at a family level, including message

                              and attachment(s).

                        Log Files: For the existing file collection containing fully

                              processed duplicate files and messages, duplicate documents

                              will be listed in a de-duplication log including the same

                              agreed production format meta-data structure and data

                              delivery criteria as for the "master" production documents.

                              Moving forward, as collected electronic materials are

                              globally de-duplicated during system intake using the above

                              guidelines, defendants will produce logs containing the meta-

                              data field values for de-duplicated files. As document

                              production begins for additional custodians and during

                              rolling productions for existing custodians, an updated de-

                              duplication log shall be produced for each production. The

                              metadata provided will be an accurate representation of the

                              data existing for the documents at the time of collection.

                (n)     Parent-Child Relationship. Parent-child relationships (e.g., the

                associations between emails and their attachments) shall be preserved.

                Email and other ESI attachments will be produced as independent files

                immediately following the parent or email or ESI records. Parent-child

                relationships will be identified in the data load file pursuant to § I. B. 2.

                (e).




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                (o)    Email Threading. Email threads are email communications that

                contain prior or lesser-included email communications that may also exist

                separately in a party’s electronic files. A most inclusive email thread is

                one that contains all of the prior or lesser-included e-mails, including

                attachments, for that branch of the email thread. The producing party shall

                produce the most inclusive email thread and all prior or lesser included

                email threads that were collected and identified as responsive and not

                privileged.

                (p)    Embedded Objects: Objects embedded in Microsoft Word and

                .RTF will be extracted as separate documents and produced as attachments

                to the document.

                (q)    Compressed files. Compression file types (i.e., .CAB, .GZ, .TAR.

                .Z, .ZIP) shall be decompressed in a reiterative manner to ensure that a zip

                within a zip is decompressed into the lowest possible compression

                resulting in individual folders and files.

                (r)    Replacement files: Any documents that are replaced in later

                productions shall be clearly designated as such, by appending a “-R” to the

                production prefix and by a letter accompanying the production clearly

                designating such documents as replacements.

                (s)    Native Files. The parties acknowledge that production in TIFF

                and load file format may be inadequate for certain types of ESI (e.g.

                spreadsheets). The following files shall be produced in native format

                (except for redacted documents):




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                    i.       All audio files and video files shall be produced in native

                    format with the source file path provided.

                    ii.      Electronic spreadsheet (e.g., Excel), electronic

                    presentations (e.g., PowerPoint), desktop databases (e.g., Access),

                    and audio/video multimedia files shall be produced in native format

                    whenever possible. The production of the electronic spreadsheets

                    shall include hidden rows, columns and worksheets. Native Excel

                    files will be redacted by overwriting the data contained in a

                    particular cell, row, column or tab with the term “REDACTED.” If

                    the production party deems it necessary to produce redacted Excel

                    (or other spreadsheet formats) in any format other than Native, the

                    parties should meet and confer before such a production is made.

                    iii.     Electronic presentations (e.g. PowerPoint). The

                    production of the electronic presentation files shall include

                    comments, hidden slides, speaker notes, notes and similar data. To

                    the extent native files are produced without an accompanying

                    rendering of TIFF images, a slip sheet will be produced in TIFF

                    format to facilitate Bates and confidentiality stamping. If documents

                    requested in native format require redactions, the parties will

                    produce TIFF images for those documents. Confidentiality of

                    documents produced in native will be noted in the File Name along

                    with the Bates number and in a metadata field. If a dispute arises

                    with respect to the provision, the parties agree to meet and confer in




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                      an effort to resolve their differences. Should the producing party

                      collect Statistical Analysis System, the parties shall meet and confer

                      regarding production format prior to production.

                      iv.       Word Processing Files. Word processing files including

                      limitation Microsoft Word files (*.doc and *.docx), with tracked

                      changes and comments showing. Such word files will be produced

                      in native format.

                (t)     Emails. Emails will be produced with the CC and BCC line

                displayed.

                (u)     Word Processing Files. Word processing files, including without

                limitation Microsoft Word files (*.doc and *.docx), will be produced with

                tracked changes and comments showing. Supplemental requests for native

                format and color copies will be governed by Section I. B. 2. (a)., above.

                (v)     Any native files that are produced shall be produced with the

                source file path provided, as well as all extracted text and applicable

                metadata fields set forth in § I. B. 2. (e).

                (w)     The parties shall exchange production samples as follows: (1)

                standard production from each source (physical, email, electronic

                document, native, etc.) which fully exercises the metadata fields set forth

                above; (2) replacement production; (3) clawback.

                (x)     Redacted Document Log. The producing party will provide a log

                identifying by bates/production number each document that contains a

                redaction and the reason for the redaction. In addition, if the redaction is




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                based on attorney-client privilege or the work-product doctrine, the

                document also will be addressed on the privilege log and comply with any

                order entered governing the privilege log.

                (y)    Privilege Log. Privilege logs shall be produced in PDF format and

                shall be accompanied by an Excel copy of the log. The PDF copy will be

                the official privilege log of record. The privilege log also shall comply

                with any order entered governing the privilege log.

                (z)    Suppressed Metadata Log. The producing party will provide a

                log identifying by bates/production number each document that contains

                metadata field values subject to Privacy or Privilege exceptions.

                Suppressed field values will be replaced in whole with a “REDACTED”

                placeholder value. The log will provide the document BEGBATES value,

                field name suppressed and the suppression reason.

                (aa)   Foreign Language Documents. All documents shall be produced

                in their original language. If two documents are substantially identical

                except that they are in different languages, they shall not be treated as

                exact duplicates. Nothing in this agreement shall require a producing

                party to prepare a translation or certify the translation that they possess.

     C.   Objections to Production of ESI

          1.    Nothing in this agreement waives a party’s right to object to production of

                ESI that is not reasonably accessible because of undue burden or cost.

                The identification of documents pursuant to this ESI Protocol need not

                include searches of ESI from sources that are not reasonably accessible




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                because of undue burden or cost. Such sources that are not reasonably

                accessible include, but are not limited to: (a) deleted, fragmented or slack

                data; (b) random access, cache or other ephemeral data; (c) ESI contained

                on “Backup Systems” (e.g., systems that periodically store electronic

                information on tape or comparable media to permit recovery of the

                information in the event of a system failure); (d) on-line data access data

                such as temporary internet files or cookies; and (e) ESI that cannot be

                directly opened by its native application due to conversion to a different

                format for backup or archival purposes.

          2.    If asserting an objection based on § II(C)(1), the responding party will

                inform the requesting party of the electronic information it is willing to

                produce, the nature and location of the information claimed to not be

                reasonably accessible, the reason(s) why the requested production would

                impose an undue burden or is unreasonably costly, and afford the

                requesting party an opportunity to propose an alternative means of

                compliance with the request, including payment of all or part of the costs

                of retrieving the information. If an agreement cannot be reached as to the

                producing party’s objection to production, the parties shall seek judicial

                assistance.

     D.   Continuing Obligations

          1.    To expedite discovery of relevant electronic evidence and reduce costs,

                the parties’ computer experts will informally cooperate and discuss

                procedures or protocols to facilitate identification, retrieval and production




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                of computerized information. This responsibility shall be continuing,

                unless otherwise ordered by the Court.

          2.    The inadvertent production of any materials constituting or containing

                attorney-client privileged information or attorney work product shall not

                waive any claim of privilege. If a receiving party disclosed the

                document(s) or information contained in the document(s) before being

                notified of its inadvertent production, the receiving party shall take

                reasonable steps to retrieve that information until the privilege claim has

                been resolved.

          3.    The parties will work with one another in good faith to resolve any issues,

                disputes or objections that arise in connection with electronic discovery

                issues before raising such matters with the court. Issues shall be raised

                promptly in writing, and the parties shall have good faith discussions to

                attempt to resolve the matter. The parties will use their best efforts to

                raise any objections or other requests related to a production within ninety

                (90) days of receipt of that production. In any event, the parties should

                raise any objections or other issues sufficiently in advance of the close of

                discovery to permit good faith negotiations to resolve the matter,

                telephonic conference with the Magistrate Judge pursuant to § VII(B) of

                the Rule 26 Instruction Order governing this case, and briefing of any

                related motion such that the court has a reasonable time to rule thereon

                prior to the close of discovery.




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II.    Encryption. To maximize the security of information in transit, any media on which

       documents are produced may be encrypted by the producing Party. In such cases, the

       producing Party shall transmit the encryption key or password to the requesting Party,

       under separate cover, contemporaneously with sending the encrypted media.

III.   Other Agreements. Other orders have been proposed to the Court, may have already

       been entered, or will be entered in the future that supplement, complement, or otherwise

       impact application of this Order or discovery in this case. For example, the parties note

       that this Order does not govern the content of privilege logs except as noted and a

       protective and confidentiality order is contemplated. This Order also does not address the

       scope of discovery, timing and order of discovery, and the procedure for search and

       culling of documents to be reviewed.

IV.    Reservation. Each party reserves the right to object to production of documents in the

       format described herein to the extent that production in such format is impracticable or

       unreasonably burdensome or expensive.

       SO ORDERED, this 25th day of September, 2020.




                                     ____________________________________
                                     BENJAMIN W. CHEESBRO
                                     UNITED STATES MAGISTRATE JUDGE
                                     SOUTHERN DISTRICT OF GEORGIA




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